    Case 3:22-cv-04473-MAS-LHG Document 18 Filed 11/22/22 Page 1 of 2 PageID: 557


                                                                                                                           Malinda Miller
                                                                                                       One Riverfront Plaza, Suite 800
                                                                                                            Newark, New Jersey 07102
                                                                                                      malinda.miller@lewisbrisbois.com
                                                                                                                   Direct: 973.856.8014




    November 22, 2022

   Via ECF
   Clerk of Court
   U.S. District Court
   Clarkson S. Fisher Federal Building & U.S.
   Courthouse
   402 E. State Street
   Trenton, N.J. 08608

                Re:       E/O Iannuzzelli v. Andover Subacute & Rehabilitation
                          Civil Action No.: 3:22-cv-04473

   Dear Sir or Madam:

         This firm represents Defendants, Alliance HC II LLC d/b/a Woodland Behavioral and
   Nursing Center f/d/b/a Andover Subacute and Rehabilitation II (i/p/a separate entities,
   Andover Subacute and Rehabilitation II; Woodland Behavioral and Nursing Center); Chaim
   Scheinbaum; Louis Schwartz.

         We are in receipt of the Court’s Order dated November 8, 2022, granting Plaintiffs’
   motion to remand the present matter to the Superior Court of New Jersey.

          Pursuant to Federal Rule of Civil Procedure 62(a), Defendants respectfully request
   this Court execute an automatic thirty (30) day stay of the enforcement of the Court’s
   Order to remand. An Order remanding a case removed from State Court pursuant to 28
   U.S. Code § 1442 (Federal Officer Jurisdiction) is a “judgment” for the purposes of FRCP
   62(a). See Northrop Grumman Tech. Servs. v. DynCorp Int'l LLC, 2016 U.S. Dist. LEXIS
   74420, *2-6 (E.D. Va. June 7, 2016). Please allow this correspondence to serve as notice
   of Defendants’ intention to file an appeal of the Court’s November 8, 2022 Order, as well
   as Defendants’ intention to seek a stay of these proceedings by way of a more formal
   motion. FRCP 62(a) provides that “execution of a judgment and proceedings to enforce it
   are stayed for 30 days after its entry, unless the court orders otherwise.” Under Federal
   Rule 52(a), a “judgment” is defined as “a decree and any order from which an appeal lies.”
   “[A]n order remanding a case to the State court from which it was removed pursuant to
   section 1442 [Federal Officer Jurisdiction] or 1443” is reviewable by appeal. 28 U.S.C. §
   1447(d). Moreover, pursuant to the Supreme Court’s recent decision in BP P.L.C. v. Mayor
   and City of Baltimore, 141 S. Ct. 1532, 1533 (2021), the entirety of the Court’s remand


ARIZONA • CALIFORNIA • COLORADO • CONNECTICUT • FLORIDA • GEORGIA • ILLINOIS • INDIANA • KANSAS • KENTUCKY
LOUISIANA   •    MARYLAND        •       MASSACHUSETTS    •   MISSOURI   •   NEVADA   •   NEW JERSEY       •   NEW MEXICO     •   NEW YORK
NORTH CAROLINA        •   OHIO       •   OREGON   •   PENNSYLVANIA   •   RHODE ISLAND     •   TEXAS    •   WASHINGTON     •   WEST VIRGINIA
   4889-6553-9136.1
Case 3:22-cv-04473-MAS-LHG Document 18 Filed 11/22/22 Page 2 of 2 PageID: 558


November 22, 2022
Page 2



order is reviewable on appeal since removal was premised, in part, on federal officer
removal.

       When a remand order is subject to appellate review, the Court retains jurisdiction to
recall or modify its remand order, including consideration of a motion to stay. Therefore,
since removal was based, in part, on federal officer removal, and the remand order is thus
appealable under 28 U.S.C. § 1447(d), this Court retains jurisdiction to act on a stay
application even if it has sent the remand order to state court. See, e.g., In re Digicon
Marine, Inc., 966 F.2d 158, 161 (5th Cir. 1992).

        In light of the foregoing, Defendants additionally respectfully request that this Court
refrain from mailing a “certified copy of the order of remand…by the clerk to the clerk of the
State court” for final execution of the Federal Court’s divestment of jurisdiction so as to
permit Defendants’ the appropriate time to pursue their rights to appeal. See Arnold v.
Garlock, Inc., 278 F.3d 426, 438 (5th Cir. 2001); 28 U. S. Code § 1447(c).

       We thank the Court for its time and attention to this matter. Should you have any
questions or concerns, do not hesitate to contact my office.




                                            Respectfully submitted,

                                            /s/ Malinda Miller

                                            Malinda Miller of
                                            LEWIS BRISBOIS BISGAARD & SMITH LLP




                             LEWIS BRISBOIS BISGAARD & SMITH LLP
                                      www.lewisbrisbois.com


4889-6553-9136.1
